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IN THE UNITED STATE DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

GINO TIBERI, )
)
Plaintiff, )
)
Vv ) Case No: 20 CV 6665
)
) [Formerly Circuit Court of
MENARD, INC, ) Cook County, Illinois
) Case No. 20 L 10732]
Defendant. )

NOTICE OF REMOVAL

Defendant, MENARD, INC., hereby removes Case No. 20 L 10732 from the
Circuit Court of Cook County, Illinois to the United States District Court for the Northern
District of Illinois, Eastern Division, pursuant to 28 U.S.C § 1332, 1441(b) and 1446, and
as grounds for its removal states as follows:

STATEMENT OF THE CASE

1. On November 28, 2018, the Plaintiff, GINO TIBERI, filed a Complaint in
the Circuit Court of Cook County, Illinois styled GINO TIBERI v. MENARD, INC., Case
No. 20 L 10732. (A copy of the Summons, Complaint, and proof of service on the
Defendant is attached hereto as Exhibit A).

2. Menard, Inc. was served with the summons and Complaint on October 16,
2020. See Exhibit A.

3. The Complaint purports to state a cause of action for negligence.

4. In the Complaint, the plaintiff seeks compensatory damages in excess of

$50,000.00.
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DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332(a)
5. The Court has jurisdiction over this matter under 28 U.S.C. § 1332 (a)

because there is complete diversity of citizenship between the Plaintiff and MENARD,
INC. and more than $75,000.00 exclusive of interest and cost is at stake.

6. Plaintiff is a citizen of the State of Illinois.

7. MENARD, INC., is a citizen of the State of Wisconsin and is incorporated
in the State of Wisconsin with its principal place of business in Eau Claire, Wisconsin.
Therefore, there is complete diversity between the Plaintiff and the Defendant in this
action.

8. The Plaintiff is claiming an injury to his head, including a concussion, and
an injury to his back as a result of the subject accident.

9. In his Complaint, Plaintiff alleges that he sustained permanent injuries.
ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN SATISFIED

10. Venue is proper in this Court pursuant to 28 U.S.C. § 1441 (a) and 1446
(a) because the Northern District of Illinois, Eastern Division, is the federal judicial
district embracing the Circuit Court of Cook County, Illinois, where the State Court
Action was originally filed.

11. Pursuant to 28 U.S.C. § 1446 (a) and Local Rule, a true and correct copy
of all of the process, pleadings, orders and documents from the State Court Action
which have been served upon MENARD, INC., are being filed with this Notice of

Removal.
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12. This Notice of Removal has been filed within 30 days of the date that
MENARD, INC. was served with the summons and Complaint in this matter. Removal
is therefore timely in accordance with 28 U.S.C. §1446(b).

CONCLUSION

By this Notice of Removal, MENARD, INC. does not waive any objections it may
have as to service, jurisdiction or venue, or any other defenses or objections it may
have to this action. MENARD, INC. intends no admission of fact, law or liability by this
Notice, and expressly reserves all defenses, motions and/or pleas.

FABRIZIO, HANSON, PEYLA & KAWINSKI, P.C.

By: /s/ Marilynn Frangella

Marilynn Frangella

Attorney for Defendant

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Atty. No.: 6271920

PROOF OF SERVICE
|, Marilynn Frangella, attorney, certify that | served this Notice of Removal with

exhibits to plaintiff's counsel via e-mail at jlee@zayedlaw.com on November 9, 2020.

/s/ Marilynn Frangella
